Order entered August 16, 2016




                                             In The
                                 Court of Appeals
                          Fifth District of Texas at Dallas
                                      No. 05-16-00422-CR

                           NOLAN LAVON JOHNSON, Appellant

                                                V.

                              THE STATE OF TEXAS, Appellee

                      On Appeal from the 194th Judicial District Court
                                   Dallas County, Texas
                           Trial Court Cause No. F14-48249-M

                                            ORDER
       We GRANT court reporter Belinda G. Baraka’s August 11, 2016 request for an

extension of time to file the reporter’s record. The time to file the reporter’s record is extended

to September 12, 2016.


                                                      /s/   LANA MYERS
                                                            JUSTICE
